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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

     In re:                                           )
                                                      )   Chapter 11
              LTL MANAGEMENT LLC,                     )
                                                      )   BK Case: 23-12825-MBK
              Debtor.                                 )

           MRHFM’S OBJECTION TO DEBTOR’S MOTION FOR AN ORDER
          AUTHORIZING IT TO ENTER INTO AN EXPENSE REIMBURSEMENT
         AGREEMENT WITH AD HOC COMMITTEE OF SUPPORTING COUNSEL

              The Ad Hoc Committee of Supporting Counsel (“AHC”) and Johnson & Johnson1

 have joined forces to assault America’s civil jury system. To both, bankruptcy is a menu

 choice for billionaires and complicit lawyers if enough ballots are stuffed into enough

 boxes. But subject matter jurisdiction doesn’t work that way. This Court must first

 address the several motions to dismiss and decline J&J’s invitation to disregard binding

 Third Circuit precedent, before deciding this Motion. See LTL Mgmt. LLC, 64 F.4th 88, 93



 1   There’s no reason to pretend LTL Management acts independently. It obeys Johnson & Johnson.
                                                     1
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 (3d Cir. 2023) (holding LTL Management filed in bad faith). MRHFM joins the TCC’s

 Objection (Dkt. 707 (“TCC Obj.”)).

         Johnson & Johnson thinks it has the power of the purse in its bad faith

 bankruptcies. The AHC’s members bound themselves to support the Company’s Plan

 (see TCC Obj., ¶ 5) so J&J is eager to subsidize their lawyers (Dkt. 575-1). But J&J objected

 to a second official committee for mesothelioma plaintiffs2 and to a separate future

 claimants’ representative in LTL1.3 Both were ‘too expensive’ for the half-trillion-dollar

 tortfeasor.

         J&J only settled ovarian cancer and mesothelioma cases in the tort system. See

 LTL1, MTD Ex. 161. Yet notably, the Company’s bankruptcy Plan would pay “Other Talc

 Claims” made for neither of these diseases. Dkt. 525-13, pg. 11 of 44. Apparently, Johnson

 & Johnson prefers to enrich a handful of lawyers that (allegedly) represent thousands of

 people who don’t have a talc caused cancer, if it means the Company can avoid juries and

 arm’s length negotiations with the plaintiffs J&J actually poisoned to death.




 2 “[T]he additional costs [of two committees] and duplication here w[ould] be massive,”LTL1, Dkt. 1047-1
 at ¶ 3; see also id. at ¶ 31 (two committees would result in a “professional retention situation . . . about to
 become out of control”); see Dkt. 1834 at pg. 3 (a second FCR would “unduly burden debtors with the
 substantially higher costs of multiple futures’ representatives and sets of professionals”) & ¶ 17 (“It would
 be a waste of estate resources to appoint two” FCRs).
 3 LTL1, Dkt. 1834 at pg. 3 (a second FCR would “unduly burden debtors with the substantially higher costs

 of multiple futures’ representatives and sets of professionals”) & ¶ 17 (“It would be a waste of estate
 resources to appoint two” FCRs).
                                                       2
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         The Third Circuit found LTL Management filed in bad faith, in part, because it

 could pay all current and future plaintiffs “in full” in the tort system. LTL Mgmt., 64 F.4th

 at 109. What’s changed? Fraud, collusion, J&J repeatedly lying about “claimant” support,

 and AHC lawyers seeking to be paid for “claims” worth nothing in the tort system.4 All

 examples of what happens when bad faith debtors are allowed into bankruptcy’s “safe

 harbor.” Id., at 109. See TCC Obj., ¶¶ 29-31.5 At best, this Motion is premature and need

 not be decided now. Regardless of timing, the AHC members can use the money they are

 all saving by not filing “Other Talc Claims” in the tort system to pay for their own

 bankruptcy lawyers.

 Sincerely:

 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC




 __________________________
 Clayton L. Thompson, Esq.
 MAUNE RAICHLE HARTLEY


 4 See TCC Obj., ¶ 8 (“Further, the type of talc claims that the AHC of Supporting Counsel purports to

 represent remains unknown. The vast majority of the talc claimants that the AHC of Supporting Counsel
 represents may hold talc claims for gynecological cancers that would be non-compensable based on Judge
 Wolfson’s Daubert decision regarding the scientific bases for linking ovarian cancer with talcum powder.”).
 5 See TCC Obj., ¶¶ 10-11 (“Serious questions remain as to how non-ovarian gynecological claims should be

 classified, whether the holders of such claims should be entitled to vote, and, if they are entitled to vote,
 how much weight should be accorded to their votes relative to holders of mesothelioma claims and ovarian
 cancer claims that are scientifically linked to J&J’s toxic products. The claimants represented by the
 members of the AHC of Supporting Counsel may constitute a ‘majority’ of gynecological talc claims—i.e.,
 non-ovarian cancer and non-mesothelioma.”).
                                                      3
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